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3                                UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                 ***

6      STANLEY RIMER,                                   Case No. 3:18-cv-00023-MMD-WGC

7                                   Petitioner,                    ORDER
             v.
8
       RENEE BAKER, et al.,
9
                                 Respondents.
10

11          Petitioner Stanley Rimer has filed an unopposed motion for extension of time

12    (second request) to file a reply to Respondents’ answer. (ECF No. 71.) The Court finds

13    Rimer’s request is made in good faith and not solely for the purpose of delay, and

14    therefore good cause exists to grant the motion. Rimer will have up to and including

15    December 14, 2021, to file a reply to the answer (ECF No. 68).

16          It is therefore ordered that Rimer’s motion for extension of time (second request)

17    (ECF No. 71) is granted.

18          DATED THIS 19th Day of October 2021.

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                                                  MIRANDA M. DU
22                                                CHIEF UNITED STATES DISTRICT JUDGE

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